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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

NATIONAL ASSOCIATION OF MUTUAL                        )
INSURANCE COMPANIES,                                  )
                                                      )
               Plaintiff,                             )
                                                      )
       v.                                             )       No. 1:13-cv-00966 (RJL)
                                                      )
UNITED STATES DEPARTMENT OF                           )
HOUSING AND URBAN DEVELOPMENT,                        )
et al.,                                               )
                                                      )
               Defendants.                            )
                                                      )

                                    JOINT STATUS REPORT

       Plaintiff, National Association of Mutual Insurance Companies (“NAMIC”), and

Defendants, Secretary Benjamin Carson and the United States Department of Housing and Urban

Development (“HUD”), submit this joint status report as anticipated in the parties’ joint status report

filed on September 11, 2019. The parties have conferred regarding the appropriate next steps in

this case and jointly propose to continue the stay in this case until January 17, 2020.

       Plaintiff asserts a challenge under the Administrative Procedure Act to the application of

HUD’s Final Rule, entitled Implementation of the Fair Housing Act’s Discriminatory Effects

Standard, 78 Fed. Reg. 11460 (Feb. 15, 2013) (A.R. 611) (“the Rule”), to risk-based pricing and

underwriting of homeowners, property, and hazard insurance. On June 20, 2018, HUD published

an Advance Notice of Proposed Rulemaking (“ANPRM”), inviting public comment on possible

amendments to the Rule, as well as on the 2016 supplement to HUD’s responses to certain insurance

industry comments made during the initial rulemaking.              See Reconsideration of HUD’s

Implementation of the Fair Housing Act’s Disparate Impact Standard, 83 Fed. Reg. 28560 (June

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20, 2018). Based on its consideration of public comments, HUD published a Notice of Proposed

Rulemaking (“NPRM”) on August 19, 2019 that could affect the pending case. See HUD’s

Implementation of the Fair Housing Act’s Disparate Impact Standard, 84 Fed. Reg. 42854 (Aug.

19, 2019). The NPRM provided for a public comment period, which closed on October 18, 2019.

See id.

          HUD received 45,757 public comments in response to the NPRM.                           See

https://www.regulations.gov/docket?D=HUD-2019-0067. In light of HUD’s need to continue to

engage in the rulemaking process, including by carefully considering and addressing the numerous

public comments it received in response to the NPRM, the parties believe that this case should

continue to be stayed for 60 days, or until January 17, 2020, on which date the parties propose to

file a joint status report, updating the Court on the expected timing of any further action by HUD

and proposing any next steps in this case. The parties would plan to apprise the Court of any

substantive updates in the meantime as appropriate.

          A proposed order consistent with this motion is attached.

Date: November 18, 2019                                Respectfully submitted,


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